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                                    DISTRICT.COURT.FoR THE PARISH OF ORLEANS

                                                    STATE OF LOUISIANA

             NO.4                                        SECTION                                  .   DIVISION
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             WI4




                                                    STEVEN AARON;SR.

                                                          A:rEitSUS

                                              BANCROFT BA G,'                        .

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                                               'PETITION FOR DAMAGES'

                  TO THE HONORABLE CIVIL filSiiiI6T COURT FOR THE PAIISH OF ORLEANS
             STATE OF.LOUISIANW, AND THE JUDGES mit REOF: "
                                                                                e,       r • 0.
                      COMES NOW Petitioner STEVEN AARON.                    who by_and through the undersigned

             counsel;respectfully represents as follows: _

             1.       Made Petitioner herein is:,

             STEVEN AARON, SR;; who is an adult resident citizen of the State of Louisiana and 'domiciled

             iii
             _   the „
                     PariShef Union; .LouisiariL
                            _
             2.1      Made Defendants: herein are:

                      A. PREMISES/EMPLOYER DEFENDANTSi

                         I. BANCROFT BAG, INC.
                             A 4;rporation duly 'organized: Created, and ViiStiiirldei'fid bki",/iitUelafthClaWg
                             of the stale of Lui,uina, with its principal place of business iii West Monroe
                             who isautlioi-ized to-do and doing business.in Louisiana, and may be served through
                             its registered agent for service of process Bc;nriie Weeds, 2100 Rosedown Dine,
                             Monroe, Louisiana ,71201: _
                             This Defendant is being sued for Premises/Shict Liability:

                      B. SUPPLIETUMANUFACT ORER/SE LLER/CONTRACTORJDISTRIB U TORN
                         RODUCT DEFENDANTS

                         I BLUE BIRD CORPORATION:                                         •_
                            A :foreign corporation domiciled in the .State of Georgia,* who has. a 'Registered
                            Agent who may be ;served wn the Louisiana Long itnn'Statule
                                                                                  ..           at: 202 Central
                            Avenue, Fort Valley, CA- 31030.
                            This Defendant is being sued as a seller/supplier]Product/man
                                                                                        - ufacturer defe-
                                                                                                        ndarii:1

                         3. BWDAC INC.,' flida. BWD AUTOMOTIVE CORPORATION
                             A foreign corporation domiciled in Delaware,.and may be SretA;e-d 1.4d the Louis'ilinii
                             Lang.'Artn..Statute at:' The Corporation - Trust ,CoMPany, 1209 Orange Street,
                             Wilmington, Delaware 19801.,
                             This Defendant is beir'ig 'Sued a.'S' a Sellear-/Sitil                   VER4FF I         ED
                                                                                                            Amber Sheeler
                                                                        EXHIBIT                        2020 AUG 18 A09:49
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                4. CARLISLE INDUSTRIAL BRAKE AND FRICTION, INC.
                   A foreign corporation domiciled in Ohio, and may be served via the Louisiana Long
                   Aim Statute at: United Agent Group, Inc., 350 South Northwest Highway, #300
                   Park Ridge, Illinois 60068.
                   This Defendant is being sued as a seller/supplier/manufacturer/product defendant.

                5. EATON CORPORATION
                   A non-Louisiana business corporation domiciled in the State of Ohio, who is
                   authorized to do and doing business in Louisiana, with its principal business
                   establishment in Louisiana in Baton Rouge, LA, which may be served through its
                   registered agent for service of process: CT Corporation System, 3867 Plaza Tower
                   Drive, Baton Rouge, Louisiana 70816.
                   This Defendant is being sued as a seller/supplier/manufacturer/product defendant.

                6. FORD MOTOR COMPANY
                   A non-Louisiana business corporation domiciled in the State of Delaware, who is
                   authorized to do and doing business in Louisiana, with its principal business
                   establishment in Louisiana in Baton Rouge, LA, which may be served through its
                   registered agent for service of process: CT Corporation System, 3867 Plaza Tower
                   Dr., Baton Rouge, LA 70816.
                   This Defendant is being sued as a seller/supplier/manufacturer/product defendant.

                 7. GENUINE PARTS COMPANY
                    A non-Louisiana business corporation domiciled in Georgia, who is authorized to
                    do and doing business in Louisiana, with its principal business establishment in
                    Louisiana in Baton Rouge, LA, which may be served thmugh its registered agent
                    for service of process: CT Corporation System, 3867 Plaza Tower Dr., Baton
                    Rouge, LA 70816.
                    This Defendant is being sued as a seller/supplier/manufactureeproduct defendant.

                 8. MONROE SPRING & BRAKE, INC.
                    A corporation duly organized, created, and existing under and by virtue of the laws
                    of the state of Louisiana, with its principal place of business in Monroe, which may
                    be served through its registered agent for service of process: William Anders, 105
                    Breard Street, Monroe, LA 71201.
                    This Defendant is being sued as a seller/supplier/distributor defendant.

                9. MORSE TEC LCC, f/lcia BORGWARNER MORSE TEC LLC, and
                   Successor-by-Merger to BORG-WARNER CORPORATION
                   A limited liability company domiciled in the State of Delaware, and may be served
                   via the Louisiana Long Ann Statute at: C/O Corporation Trust Company, 1209
                   Orange Street, Wilmington, DE 19801.
                   This Defendant is being sued as a seller/supplier/manufacturer/product defendant.

                10. NAVISTAR INC.
                    A non-Louisiana business corporation domiciled hi Illinois, who is authorized to
                    do and doing business in Louisiana, with its principal business establishment in
                    Louisiana in Baton Rouge, LA, which may be served through its registered agent
                    for service of process: Corporation Service Company, 501 Louisiana Avenue,
                    Baton Rouge, LA 70802.
                    This Defendant is being sued as a seller/supplier/manufacturer/product defendant.

                 11. PNEUMO-ABEX CORPORATION
                     A foreign corporation domiciled in the State of New Jersey, who has a Registered
                     Agent who may be served via the Long Arm Statute at: Corporation Service
                     Company, 251 Little Falls Dr., Wilmington, DE 19808.
                     This Defendant is being sued as a seller/supplier/product/manufacturer defendant.



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                            12. TAYLOR-SEIDENBACK- INC.- _
                                A corporation duly organized; created, and existing under and byyirtue of the laws
                                of the:: state of Louisiana; with its principal ..plLie c. Of bug iness , in New Orleans,
                                Louisiana and rn4 .he-Sei'ved ihrarugkits r'-eigier'ed!`aient'for-stVice:'
                                S
                                -hepard, 731 South Scott Street, New Orleans; Louisiana 70119..
                                This Defendant is being sued as a SellerisuPPlier/Contra"Cio   -r/di'stributor defendant.

                            13: THOMAS BUILT BUSES, INC: „
                               A . non-Louisiana business 'corporation F.,domieiled unNorthCarolina, who is
                               authoriied to do • and doing ' buSineSs:th Louisiaia, with • its principal 'business
                               establishment in LOniSiand in Baton Range, LA WhiCh may be served through its
                               registered agent for service of process: C.T. Corporation System; 3867 Plaza Tower
                               Dr.; Baton Rouge, nv70816.'
                                 • - • ,
                               This Defendant is being giied as "a-Sel ler'/suiPI ieriarifiaCto-ridiSiriba-for defendant:

                                                          4
                                                              BACKGROUND

            3.,        On or about May.12;2020; Petitianer Steven Aaron,---§;..was diagnosed . with malignant

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              ' o-theliorna
                         -4-, which v‘,-jas duento'and a cans'eclUence'ofhiiè                     abitos set fokhlirrein7

            As a 'direct and proximate result of the d;lktual conduct of                    defenvciant:S,--Petitraner contracted
            .4.s•            .              r         .

            mesothelionia and has siiffered physically; financially,.
                                                                                  re'

                       OileariS Parish is a proper venue based on the following: 'w4    •

                                        .     .                _
                       a.     Orleans Parish is a proper venue for this matter pursuant to Louisiana Code of Civil

            .               Art iele- 42(2). beiaiiie .Defe-ndarit Taylor- Seid&ibkh               is .1 •dOinestic
                                                                                                           .        cOrPora
                                                                                                                         -
                                                                  •     -- -
            licensed to do business in this S 'tate,
                                                 - and has designatedas
                                                           'a its domicile,' primary business Office

            andior pkmary place of business In Louisiana as Orleans Parish. ,

                       b.         Orleans Parish is a proper venue for thiS'inat ter_ pursuant to Louisiana Code of Civil
                                                               •

            Procedure Article 73, because each of the Defendants listed in' Paragraph 2(A)' contributed to Mr.

            StAoii, Sr. exliosure to a-sbeSto; and diagnosis' of , .                                           tlieiefOre,'eiCh
                      ft"        .4     A 1.                        - -                               •   +4

            solidarily liable to Petitioners with its , co-Defendant, /Taylor-Seidenbach Inc. whom has

            daigiThed is 'dc;rru
                              --cile,--prirnarY business bffiCe and/or pri rriarY 'place of bilsisies'S' in. Oil eariS Parish.

                       c.         Orleans Parish is a proper venue for this matter pursuant to La! R.S. §22:1269 B(1)

            beca
            -1 use events; ace..ide'rit; or injury occurred in Orleans' PariSh: Orleans Parish is proper venue for
                                                                                                • _
            this ,_
                  pursuant tO.Lai". C.C.P. Art.•74 because Orleans Parish 'LS Where wrongful conduct
                                                                                                  et

            occurnd and/or• where Petitioner's damages were sustained.

            S.         Thve-diiaies sought by' Paitioni, eicluSiVe

            jurisdictional
                     _     limits of the Court.



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                           Petitioner Steven Aaron, Sr.-,was eiccupationally,expok&Ao injurious levels of asbestos

                whilcempleyed as a mee'hanic at a service station iii We-st lvloriroe, Louisiana,' from zapproximately

                149 thrOugh 1977. Throughout , the course of Petitioner Steven Aatott,' Sr. '‘"-"
                                     ^   •              • -
                                                                                            's employment,lhe

                .wet        ''th,, use                    . • the-ifilinitiOf
                                         hindled `-andicirWai:-                                •                  astieSfOcalid/OT'

                asbestoS-Containing friction products including but not limited to;bralees and elutehes. This work

                exposed him to.dangerously high leVels of asbestos fibers, which escaped into the ambient air of

                t1r4lat'esti1tingin Petitioner Steven.Aaron, Sr breathing thOgefilk:i'S,,
                               •••                                  _                      k••
                           Additionally,- Petitioner was Occupationally •exposed to injwiouS.levels of asbestos while

                aiiPloTed
                     • • .         • •          mechanic.at. a repair shop in - Monroc;VLoUisiaria from approiirn at eey

                1977 , tbrough 1979: Throughout . the course ,of Petitioner. Steven Aaren. Sr.'s employment, , he
                                                      • -       ,              -        ,----?•••• • .•
                       rkd . witk-used, handled• and/or was in the vicinity of Others using or handling asbestOs and/th
                                         -
                                                                        btit not                            ZititahR
                                                              f•   ,"   -
                exposed him to dangerously high leveis.of asbestos fibers • which eScaped mb the a•mbient air Of

                the7w7OrtcP1ait;restiltiiii in Petititiiii.:i- SteVin Aiiion, Sr.tirea.thitig thoiefibeis:,

                8.,        Petitioner Steven Aaron; Sr. was Ocoupatianally.eXposed •to7inji.niotis levels of asbestos

                while employed as an • operator, by Defendant Bancroft Bag in West Monroe, •1_,-ou is iana from

                Ipprourhately 1984 ..through72006: Throughout the 'COur-Se. ; Of PetitioneF,Ste'ven Aaron, Sr 's
                                     -                                                                      -             -

                employment
                emPloyment at Bancroft Bag, he worked with, used, handled' ancifOr. was in the vicinity of others

                tismhaiidhii tiSfieStOS and/or 6b0t6s,coittairiing "ir'Odati and -ciiip-nienI,.iieluding,bilt not ,

                1iinited insubtiori, gaskets,' puriips;: and boilers.-Additionallv Petitioner- Was exposed to asbestos

                '.frOvni ic;-orittict-
                                     ors who _Were

                j&kiktainiitg7p-TrOdtiets,, including, but not...limik'd to, asbestos=e6ntaiiting'insi.ilatiOn prOduatS.,Thii:

                wori'exposed hirn'io dangerously high levels of asbestos fibers, which escaped into the, ambient •


                ay.          1.•                                                                   .5.11
                                                                                      •                                            •
                9.         Before and during Petitioner exposure period, each of the                       is named in Paragraph

                      above designed, tested, evaluated, ma'nufaclure-dr, Paak aged;furri
                                                                                      .                                 ,han
                                                                                                                          - died
                               .--..-
                tiaiiSPorte.d, installed, uied, supplied, ieiriove4; aodfoi,7sOld 4.43e:gt0i7oi'.a4btsto-contitining

                products lor, use where Petitioner was 'exposed to asbesios,containing•prodtietSZP-etitiOner,:was




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       thereby exposed to products and equipment that contained the fibrous; incombustible, chemical.:

       resistant mineral Substriees
                          . a_    -ConirriartlY   . "asbeSt6s-2?
                                                Called
                                           _ „...
                                                                                     e.
       10.,           When inhaled or otherwise•ingested, asbestos :causes
                                                                      •,..•
                                                                            • irreparable and progressive 'lung                  k& •       •        ,




       diiae , that can man
                         — i fest itself asasbeStOS--relat
                 ,•


                                                                                                                                                              .•••


       pulmonary ' and bronchogenie carcinoma, gastrointestinal cancer, cardiac problems other lung

       diSeases, pneumocdiiiosis,' and ‘',ar.is other

       11. !          Eacih-Of the defendants' kneV, oVshoilld have kriniai
                                                                        __  iridids try and medical

       as well as statutes and regulations, the eiistence of which was unknown to Petitioner, of the health

       gazir-ds inheient in the :a sbOsioScOntaininVT p-id tièts. Infstead kf aiirij Pititioiier,-iiid 'the
              t                                                                          - •
       general, public about these dangers, the defendants ignored or concealed such • information, or

       condoned such concealment, in order to sell or use asbestos or asbestos-containmg products and

       to-avoid litigation by those Who were injured
         41.                                                                   n•   4   •• r.6 .7•1!,     4.7 4

       .12:           As a-direct
                           , .. and
                                  .... prOximate
                                          .•     result of having inhaled, ingested Or otherWise been exposed to
                                                   .•••   • la                                                                                            •          L.




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            64     des4...
                     -"ribed abiSite;Pctitioner.Steven Aaron, Si'. airitTa'ited 7iieS'Othaiairia:' an ' ine-Urib le
                      ii




                               •
       and . ultimately terminal cancer caused from aibestos',exposure..Petitioner was diagnosed with

       malignant mesothelioma on or, about May 12, ,2020:: A cause of,Mr.-Aaron's contraction , and

       de'Veldpment
              . .   ofineSothelionia was                         curnulativeeeenpationaleli-
                                                                                         _ peSiireS-ta'as
                                                                                                       -                                        _ • aidescriVed
                                                                                                                                                      .



       13.                        i'i's-e7'e:pf the I aten.Ey p-
                                                               Oriad between eipo
                                                                               -siie'to-astiestind the-oris'et Of                                                    and
       A'S             4.-   -3                                                                            I      .? •lhat


       because of the concealment by some Defendants of the causes arid effects of exposure to asbestos;
                                                                                                        th-...-   -,,,,... .,
       Pedti;tir'olne.'r"did nei know nor could he have reasotiably known                                 at his injuries Were Cahsed by his.

       lisbeites'eXiiositre until recently, Which eecurred less thiii'Orii year Prior tO the filirig of the instant

       Petition for Damages. Further,- Petitioner only recently discovered his injuries and not more than

       One-year` -
                 p-rec
                    -eding the filing of thiS On-gin
                                                  -al Petition for Danl.
                                                                     - ages.-.'
       4.--.. .           ..      .. , ..,    o                                              A.   .
       14.,     in connection with .his: work at the 'aforementioned .job :sites,'.Petitioner inhaled great

       quantities of asbestos fibers as a result, of his ‘5,-;o rk. cperiii, hiiv-inr"
                                                                                    g neither:. CnoWledie no-ia

       reason to believe that asbestos Wii.s-dangerouS.' Further,. Petitioner allegeS, More SPetificallY -Set
                                                                                                                             6          ,        •

       out     be-low, that he suffered injuries pmximately causedbY his exposure to asbestos from asbestos-

       containing iiioducts deigned,                                      distributed,                                                               Defendanti:


                                                                           5
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         More specifically, on or about MaY- 12.: 2020.; Steven :Aaron, Sr. ,was diagnosed with malignant
                f. ;                                 •
                                                                                                                  •




         me
         —s—othelio`nia. a nroèssiv. rionleura
                                            -- ble 'land 'ultimately fatal caticer
                                                                                —.


                                                     :(All Defendants1

            -              infOrmation and i belief all !. Defendants _identified in Paragrapt
                                                                                            % . 2 above were

         responsible .to provide. Petitioner. With warnings concerning hazardous conditions' at thsitiS
           t•               eT


                                                                                                              •       .
         andior their use of hazardous matenals; and generally to provide Petitioner with safe premises in

         order to protect life, health, safety, and welfare of Petitioner, and had the following responsibihties:

                            frisPection'apprOval and supervision Of the premise' for ha-iards-and iviceS that May
                                          •
                 present a hazard to Petitioner;

                 B.     Td seè that Pieper" safety the adptdro ilgitd,àrd enforcid e-oric.ernini
                            T-7,               .                •
                 the use and hand
                                l mg of. hnardous material s that may :.present
                                                                      .         • harm to ',people • on :the
                  I
                 premise.s;

                 C:         To see that Workers performed their duties pertaining to their work in aproper;Safe

                 and worlanarilike manner so as not to present.an unreasonable risk of harm to the workers,

                 as well as t6 Petition
                 - ,.                  • .. _ .....„ ....... ,.. -Me .     4..            ,
                 D.      TO see that the Defendants and their employees used safe and sound principals and

                 practices in their.work involving the use irid'itoriia-Zif ha'ards nialtei-ials;
                                                                                                ,
                                                                               _
                 E.-      To
                          , _ Make
                              .    health and hygiene decisions on any and all questions regarding the use
                        „
                 of respiratory protection devices involving the use and storage of hazardous materials;

                 F:         To keefi: hieast f rsta te-of-the =art       .          -Pertairis:.t6 • the d        .rf
                                                                                                         -
                 asbestos inhalation, involving the use and storage of hazardous matenals;

                 G.         To , provide , adequate warnings, sa fety equipnient; ventilation, and bre
                                                                                                    ' athing-
                                              ,st                         -.                                -
                 appaptus;where,such was necessary, in order,to'prevent Petitioner from being harmed by

                 exposure to asbestos in the envir'onmerit in which he was required to be present;

                 H.         To Make-..Certain that Petitioner
                                                          _ was pravided
                                                                 .   . a .iafeenvirorinient,'
                                                                            . .               free from exc.ess
                                         •


                 asbestos. dust inhalation and operations free from excess asbestos dust;

                        To cOmply . with' applicable site r‘''an &federalielulitiOVs7rig
                                                                                       —ulating 1-exioirure.16
                                                                           •
                       .                                                 ,-
                 asbestos, , including but not , knitted to, those -regulations .promulgated by the U:



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                                                                                                      ' id:O(piioiiiISafeiiand

                       flealth"ACt.
                                                                                         P-                                 •-4- %,*-"1:          "                    •.F!
          rg:               Not only did Defendants have the duties and responsibilities set forth in; the foregoing

          paragraph, butt the did actually undertake o1 iii 6 eritioiaI batperfoiin said duties and fulfill
                 •
           •                                                                                                             0. 0
                                                                                                                                                                          •
          said responsibilities 'and they negligently failed to carry out those undertakings and assumed duties

          in the mariner asserted in the paiiigraph beloW; and on informaticia and belief, Defendants knew of
                                              . .      •                                 •
          thel u tla en , atm .spher.e in which Petitioner wis ;. required to enter • and work Which-
                     .51                                                    4-   • 91,                                                                    .
          damaging and dangerous to Petitioner,' and each knew or should have known of the dangers to

          Petitioner's health posed by „Working in and be aposed to an atmosphere p011uted with aSbestos

          dust .withoutproper,proteetion or warnings., 'Petitioner alleges that these Defendants knew or

          should have known that • re spira tory illness such : as the asbestos-related cancer- sustained by

          Petitioner could hive b6in. ro.i6ided
                                             _  by _the-uie- f_
                                                              adequate vent                                                                     packaging and
                    „
          safety equipment:'7

          17.               Oii . itifdirriation7'irid belief; De fendinit,S -`rieiliientlY: iljd                          e. -P-C4.foirt
                                                                                                                                      —iariee ofthir
                                                                                                           )A.6

          responsibilities and/or actual undertakings to provide Petitioner with safe premises and operations

          in the following particulars:

                           A'.     Failing t     rope
                                                   — rli VV-nt flaw.' the -ilea' _in_                 PetitiOner
                                                                                                       _     _ - Wasiecluired
                                                                                                                  .           to inter' in

                       connection with their work;

                       B.          Failitig to :Wari or prer.;sideF safety                                                             blit-no- t lirnited '16
                                                                                                  .        -
                                                '      *             ,
                           respirators; air-fed hoods cu. for Petitioner's use.
                                                                                                       .                                                          ,•
                           C.      Failure • to institute f safety ',procures
                                                                        ed    • and plans ;Toth
                                                                                            r .e :adequate pteci
                                                                                                           ro ton of .

                           Petitionit
                                                                                                                  ,—               r

                                   Failing to warn Petitioner of the dangers posed by the polluted atmosphere in which

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                                  - ,.•                 .i.                  r •?:' -         •
                                                                                                                  "...     el-.            . .1 ...    .1......   •

                           rnesothelioma: lung cancer.'other cancers, and the carcinogenic effect of the risk of, lung

                           cancer caused by asbestos -eicpasure to persons with pre-existing smoking habits fr;:nrlilie
                                                                  ..                      ....
                           handlirigand use of risbestos.,I
                                    a                                                                  Nt•
                           E.      Failing to enforce appliCable safety rules after such rules were actually adopted;
                                                         •
                           F.',    Failing-to- keep-ablviii 'Of the ;cieritific‘and_liiiiiieZiiiii'lin-Rdie7rega'idini'the


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                               dan'-g&i.s Ofand protection agairiSt:ihe"oc-C'u-palio-
                                                                                    nial eXp-or-su.

                                            Failing to properly supervise operations.
                                                                                                                                   -"!
                                            Commencing and continuation of operations ‘vhich were und er their control and

                               su'per-Vis
                                       - ion           the-Y                                          ha;e-                                                     Petitio-rier
                                                           •
                                                                                        4'

                               to be exposed to asbestos dust, without protection; !.

                               1:           FaiI ing to abide by ircppliCable sate and federaliegulatiOng regulating thepremises'.

                               eipo
                                  . ;int. ICI asbestos-, including but not limited to, those regulations promulgated by the J.E

                               S.' Departm
                                      .,„ - ent of Labor,'
                                                    .•  • . pursuant to the Walsh/Healy 'Act and theOccupatienal Safe y and
                                                                   4       la .4. "•              F                         as-Cw-F$F4M,FF,         , ,                    r



                               Health'Aeti,
                                             -                                                                        CF.                     ary   Fr or.

                                            Failing to measure the levels of asbestos dust in the premises working environment.

                I 8:             The negligenc-e of Defendants was a substantial' factor and contn uted
                                                                                                " '1;"                                                         causing the

                dainageS'alliged herein to Petitioner.'

                                 :-NEGLIGENCE AND STRICT LIABILITY ALLEGATIONS •AdA
                                                                                 INST
                                       MANUFACTURER/SELLER/SUPPLIER/CONTRACTOR/ •
                                           : DISTRIBUTORRRODUCTDEFENDANTS':
                                        J., • • I'                                  .                 •

                19.,           The Defendants ! identified ;in Paragraph 28; abovel', as proriuct manufacturers, "sellers;

                contractors, distributors, and/or suppliers of asbestos/asbestos-containing products were engaged

                in r                   ally "p-artiCipated iii the busiiies ofmanufdctunn , Eat.ted in- the inaiii.iftteitiriii-grei
                                                               r                     -                                         •

                facilitating the manufacturing of asbestos products; or representing themselves as manufacturers

                o , asbestos pro ucts, or,are profess] onal - vendors of asbestos:or as. be-st:containing pitidtieig;
                 r         -                                                .* it            r*                   -
                which were expected to and did reach the job sites of Petitioner thereby exposing Petitioner to

                asbestos andior asbestos-containing products and equipment
                                                                            •                                 _


                20.            The podtniiiiiniacturcd,                                 tributed; supplied, Sold_ iiiid/Of ii-se-r1;bY these `deferickints
                                         r-                               •                n-
                were defective; unreasonably dangerous; and unreasonably 'dangerous per se to Petitioner Who was

                     iiiitc-n-did and fOraiee-able -User- and big-ander-that iika-i-ekd to these prduts TheS'e-defe-cii
                       r                                               t        a
                Include, without limi laton,- the following:..•'

                               A:            the manufacture, sale, supply and uge of products that are unriiasonably dangerous,

                                           . . 'dangerous per se:_;
                               or'unreaseinably

                               13 2-         manufacture; sale,- supply. and, use of, products that possess-'in
                                                                                                             . hereat . and 'known

                               proper es that ma 'et ern unreasonably angerous by presenting high potential for ca.using



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                                injury, such as respiratory disease; cancer; and other health problems to those who

                        would b.c foreseeablY exposed to them in the decedent's trade
                                                                                  _•

                                lack of warning or of sufficient warning of the hazards
                                                                                     - Ithese products would present

                        iii the'ein.iiie'Of their nerma
                                                      - 1 fori'seeable-is:e oi iniiiided ii-s.e;
                                .., .   . ,•       .       ..,,                                    ..   •.     -   li   +


                        6.      lack • of -safety instructions or of. sufficient 'sa fety instructions for eliminating or

                        redu.cing the health risks associated With the inie.ndedi;s'e CI f theMdtic3iS:,

                        E.      failure of defendant; to iiiSpeet thiSe produCti td ii.S`Siiii .Siifficiericitind adeiniaCY

                        ofwamings and safety cautions.

                                 failure toleSt or adeifitatelY teSt these p—ro'dti', fo-Cdefeitii-oi higidithat they C..o.uld

                        present to the intended or foreseeable users;

                        6:       failure to truthfully report or. adequately report the results of product testin& and

                        Medial 'Stiidiei,-;"aksileiatid with :foiekeitble • hilaidg 'Of • theiiiiiiducts by '- intended Oi

                        foreseeable users;1

                        H:       failure to proper y deign these products -Where
                                                                              ' the ttiiâf the'product did not

                        require use of asbestos mineral
                                                     _or where alternate equally suitable substances were readily

                        available;

                                defects' in the composition and .lconstrnetioirof

                        J. •     failure to recall these products manufactured, sold and- supplied;;

                        K        failurtO jrly. Oi."&kaie these Prednet;so that they cld bZ- SafeVted;
                                                           • 4I


                        handled stored or disposed of,

                        L:      oveivarran
                                         .         th..sfety`Of these products;

                        M.      ire liable to Petitioner in Strict liability for things in theiigUard, possession, custody

                        or control, pursuant to article 2317 of the Louisiana Civil Code that have caused harm                 io
                        Petiticina „
                                                                  ek".                   1                     _
             21.,       The defective conditions of Defendant products and fault,'as noted above, area cause of
                           k
             Piti oilers alpines and damages cornplained of herein.

             22.,       Petitioner also
                                    _   -alleges that each and every -oneof the- foregoing Defendants were                  _al so
                                                                                                                                ,
                          r
             negligent in engaging in the substandard conduct enumerated above and that this negligence was

             ;Aso a proximate cause-of Petitioner's injuiries and damages.'


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    r'••••-,
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                  •         .
                                                                                                                                      DISTRICT COURT
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                                             'STRICT LIABILItY,ANt) NEGLIGENCE ALLEGAtIONS!
                                                 _
                                                        AGAINST PREMISES OWNERS —

                       23.,         ThZ .Defendan                     ' niSa'CiWn-e1;. -LW PiiIiirliih'2A;abytilVe • ra'r.t.;liablfOir
                                               -t(s) • ideiii1ied a Prei

                       Petitioner's damages caused . by their 'fault, in , the forin -Of 'Sine t liability and/or. negligence 'as

                       'deiaild herein; and in 'failing to proVide'PetitiOner with a -sal Place io work free fiorn the dangers

                            r-esiiirable-aSbestis4::ontainitig
                                                                                                                                  •            .
                       24:'         These defendants are liable to Petitioner for the damages described in this Petition for the

                       'foll6ivizira4; of negligeTriCi while Petitioner'were vorkinjvithin th'eirre-S71-ectiv-el;viirklite-S.:

                                    a.       Failing to provide
                                                          _     respira
                                                                     ' _tory protection. to Petitioner;
                                    4,
                                    b.,      Failing to provide safety equipment to Petitioner-, -
                                                                    - 4 ,
                                             Failini fa -provide Feneral -ventilatiOn in'theTWZik-tiiera":'Of
                                                                                                         s    Petitioner;

                                             Failing to provide local extlaust in the work areas of Petitioner;

                                    e.Fiiling i6oniir'the                fo;iibain;                               th'e \\;:-Oreare
                                                                                                                                -"a:S
                                                                                                                                   . fPe'lltiOzne'r;
                                                                                              ,
                                             Failing
                                                 „. „to -provide Petitioner
                                                                         . with 'proper Medical "monitoring; ,
                                                     ,.                                   -,   - i•••       .--
                                    g-1      Failing to educate Petitioner of the hazards of asbeStos;

                                    h.       Failing
                                             .       to post warning or caution signs
                                                                                   _. regarding
                                                                                              .  .the
                                                                                                   ._ azards
                                                                                                       . ._ . o as_ _
                                                                         .     ..    .i ..,-- -    - .-, -         -,  ,,-... .,-.
                                    i.       Failing to implement wet methods to. control the level of airborne asbetos fibers in

                                             work areas of Petitioner;
                                                                                                            ft
                                             Failing to implement the use
                                                                      _ of asbestos-free
                                                                           _             matenals; and

                                    k.       Inducing Petitioner to work in areas pollUted with respirable asbestos fibers.

                       25.          Ai' a-dire
                                            -et - result .of the aforementioned acts, • Petitio-nei
                                                                                                 . inhaled                            ,                ingeste7c1

                       asbestos fibers from the asbestos and asbestos-containing products present within his work sites
                                                                                                                    „.

                       and as a direct result; Petitioner Suffer&I the injuries and damages complained of herein,

                       26.          During the course of Petitioner's work,' Petitioner was exposed to asbestos and/or asbestos:

                                          products which were in the care, conirol andcusody ofihese'befendants
                                                                                                             . . Because a

                       the-eZtreine hazard it iiosei to hurnans, asbestos ConStitiite's ifdefeet or vice in ihi. preducts to. Whieh
                                                                                                                                                          •!'"
                       Petitioner was 'exposed; which defect or vice'.was• acause                       fact of Petitioner's injuries ' and
                                                                                                    ,Prr-               e

                       damages described herein. Accordingly,' the Premises Defendants are strictly liable to Petitioner '

                       in accordance ivitti Louisiana Civil Code article 2315 and 2317:



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                    Case 2:21-cv-01082-MVL-JVM Document 1-2 Filed 06/03/21 Page 11 of 14

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              27:           Dirig the c.O"Urse of Petitioner's work,- Pclitioner-
                                                                                was 4CiPoSal aSbesto4s- released frOm
                                                                                                                    -

              theic premises, w` hiCh'relia.;e
                                          . WaS                         _ _fa_Ct
                                                                               _ Of Petitio
                                                                                 __..... . -iier's
                                                                                                _ injunes and dam" age's asaescribed
                ,                       •'
                                                 '   k
              herem:FizAccordingly,- the Premise Defendants are strictly liable to .Petitioner in accordance with,

                                                         Ciil Cade' a-iti cle 2315;                         Cciai icl es 660 and

              669, and Langlois v. Allied Chemical Carp.'249 So.2d 133 (La: 1971).,

                            The Premises Defe`ndants
                                                  i 'knew.- ar,Should have known ,that asbestos posed a 'hazard to

              hUrniii-S-
                _      and that there Werc-,-siiecific-iiiiineering and nick:IT:Arial higiene`c&ntrols that "Could help
                                   r'
              reduce the levels of airborne asbestos fibers, nonetheless failed to or suppressed; through silence,
                                                                                                   •




              nelleet-orina
                          . ctiOri,rthe high regarding asb-estos to Petitioner so as to obtain. an Unjust advantage
                                                                                                                      10.

                                                                                               ;
                                                                           3 :
              for themselves over and at the expense ofPet 'Winer or to cause loss or inconvenience to Petitioner.

              This action or inaction by the Preinise Defendants was a direct and proximate cause of the damages
                                                                                                              _

                    _

                                                                         DAMAGES )

              29. t Thibliduct Of the'Deferidants, ai f, alleged                                           ,aireet,
                               • •
              producing cause of the damages resulting from Petitioner.,s development oean • asbestos-related

              lung .dkease,- namely, malignant rnesotheliomai•and of the following genel--
                                                                                        ral and'special dam-ages
                                                                                                            •- ;



                                        The ' conscious physiCal ,Rain and suffering and i..mental anguish sustained by
                                        Petitioner (past, present, and future), '

                            B:          The iihY1ic-al imiiairtriiht suffered biPetitioriei(strpreierit, 'Ad •future);''
                                            .                                              i.„
                                         -•     :.
                            C.          The disfigurement suffered by Petitioner,
                                                                                  ...
                                        .,       ..     ,                 ., , .        e-                 ..
                            -6 :        Reasonable and necessary medical .expenses incurred by Petitioner (--p" ast;present,
                                        andLfuture);1

                            E:          Loss of qu ali ty 'Of life;

                                        "P ast, present, and future disability;,...

                            G:          Past; piesent, and future economic and ..iiiagii losses,.

                            H.          Past; present, and fut-u-re loss of carnin`g capacity; Ad'

                            I.          All other•forms of relief or categories of damages allowed by Louisiana law against
                                        parties the
                                                .. „: law allows such claims to be alleged against, with'interest, from the date
                                        of injury until paid, plus costs of these proceedings :




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Section 8                                                                                        DISTRICT COURT




                 WHEREFORE, Petitioner Steven Aaron, Sr. demands judgment against the Defendants,

          and each of them, jointly, severally and in solid° for all damages, for his costs expended herei-n,

          and forjudicial interest from the date ofjudicial demand, and for such other and further relief, both

          at law and in equity, to which Petitioner may show himself justly entitled.

                                                        Respectfully submitted,
                                                        THE- CHEEK LAW FIRM LLC




                                                        Lindsey A. Cheek, LA Bar No. 34484
                                                        Jeanne L. St. Romain, LA Bar No. 36035
                                                        650 Poydras Street, Suite 2310
                                                        New Orleans, LA 70130
                                                        Tel: (504) 304-4333
                                                        Fax: (504) 324-0629
                                                        Leheeklibthecheeklawfirm.com
                                                        jStRomainGthecheeklawfirrn,rom
                                                        AsbcstosiFtt hecheeklawfirm.com

                                                                -And-

                                                        SIMMONS HANI-Y CONROY LLC
                                                        Todd A. Neilson, IL Bar No. 6278121
                                                        PM' Pending
                                                        One Cowl Street
                                                        Alton, IL 62002
                                                        Tel: 618-259-2222
                                                        Fax: 618-259-2251
                                                        tneilsonGsimmonsfirrn.com

                                                        COUNSEL FOR PETITIONER




                                                                                   A TRUE COPY


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                                              SERVICE INSTRUCTIONS

            PLEASE ; SERVE THE`..FOLLOWING- DEFENDANTS WITH PETITIONER'S • ORIGINAL.
            PETITION FOR DAMAGES:

                   BANCROFT BAG, INC.
                   Through' its registered ageni.:
                   Bonnie Woods
                   21_00 Rosedown_Drive
                   Monroe LA
                           LA. 71201

            2..    BLUE BIRDCORPORATION
                   Via the La.uisi2lha Long Ann Statut'e.
                   202 Central Avenue
                   Fort Valley; GA-3103-0:

            3.,    BWDAC                 BWD 'AUTOMOTIVE CORPORATION
                   Via Me'LoUisianarfong Ann'Staiute:t
                   The Corporal ion,Triist Company
                   1209 'Orange Street
                      'Minium: DE .1 9go •

            4.;    CARLISLE INDUSTRIAL'BRAKE AND FRICTION, INC.,
                   Via the'. LoiliSiaha Lang Ann Strititte.::
                   United Agent' Group Inc.
                   350 South NOrthikest• High‘yay;43.00
                   Park Ridge; IL 60068,
                   •. •
                   EATON CORPORATION'
                   Through its registeredirgent:'
                   CT Corporation Systern
                   3867 Plaza TOwer, Dri Ve
                   Batn Rouge, LA .70816,

                   FORD' MOTOR COMPANY
                   Through its registered agent.,
                   CI' Corporation System
                   3867 Plaza Tower Dr.
                   Bab:in     Rouge, LA .70816 -
                     " `1.-. • z



            7.     GENUINE PARTS -COMPANY .'
                   Through, its regis:tered agent:
                   CT Ccapo7ation Sistern
                   3867 Plaza Tower Dr.., ,
                   Baton Rouge, LA' 70816

            8. ,   MONROE SPRING & BRAKE, INC.
                   Through its regist ered agent: ,
                   W       Anders,, '
                   105 Braid Street t
                   Monroe, LA 71201'

            9.;    MORSE TEC LCC, fildo BORGWARN ER .MORSE             ond Sticeessor7by7
                   Mirger to BORG-WARNER CORPORATION.
                   Via `the LoaisiEma Long Ann' Statute:
                   C/O Coiporation Trust Corn.pany,
                   1209,0range' Street-


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            10.: NAVISTAR, NC.
                   .Th tigkitSizegistere'd erg—At:0
                   Corporation Service Company
                   501 ..atiiiiiiia'AVen.ue -
                   Baton Roake,IA .70802

                   PNEUMO-ABEX CORPORATION
                   -kit;
                   Co_-iPOrnliOn
                           , . Serieice-Coinpan-y'
                                                 1.7
                   251 Little Falls Dr. •
                   Wi
                      _ Imingtnii-; DE 19808

            12.1 TAYLOR-SEIDENBACH,
                   Thro
                     .       its registeiedakeht::
                   Robert I: Sh:67patil
                   77317:South -Scott Street .
                   New Orleans,' LA.70119,

                   THOMAS BUILT.BUSES, INC.
                   Throughcits registered agetit:
                   C.T. Corporation System ,
                   3867 Plaza To-Nd .
                   Baton Rouge, LA 70816'




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tE-Ried..
